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                                      UNITED STATES DISTRICT COURT
                                           DISTRICT OF MARYLAND

                                                                                    6500 CHERRYWOOD LANE
    PETER J. MESSITTE
                                                                                  GREENBELT,MARYLAND 20770
UNITED STATES DISTRICT JUDGE
                                                                                          301-344-0632



                                                 MEMORANDUM


       To:             Counsel of Record, Karen Lundregan

       From:           Judge Peter J. Messitte

       Re:             Lundregan v. Housing Opportunities Commission, et al.
                       Civil No.PJM 19-1369

       Date:           November^ ,2021



       Plaintiff Karen Lundregan has filed a Motion to Stay and Motion to Appoint Counsel ^CF No.
        122) and a Motion for "Leave to File Out of Time," in other words, a Motmn for an Extension
       (EOF No. 123). Defendants have responded in opposition(EOF No. 125)a^have filed a second
       Motion to Dismiss(EOF No. 124), in this instance, on the basis of Plaintiffs failure to comply
       with the Court's Order on October 7,2021 that required that she proceed wthDiscove^ md fcat
        she respond to Defendants' first Motion to Dismiss by October 22,2021 (ECF                  She d J
        neither, instead filing her latest requests for a Stay or an Extension.
        Dismiss (ECF No. 114) argues that the case should be dismissed for Plamtifrs Lack ot
        Prosecution.

        Having considered these motions, it is ORDERED:
             1. Plaintiffs Motion for a Stay and Motion to Appoint Counsel(ECF No. 122)is DENIED
                IN PART and GRANTED IN PART:

                    a. The Motion is DENIED with respect to Plaintiffs Motion for a Stay;
                    b. The Motion is GRANTED with respect to Plaintiffs Motion to Appoint Counsel.
                        The Court has identified suitable Counsel, who will be appointed in a separate
                        order. Plaintiff is DIRECTED to note the limited nature of this appomtment:
                        Counsel is appointed to serve up to 10 hours.

             2. Defendants' Motion to Dismiss for Failure to Comply with Court Order(ECF No. 124)is
                DENIED;

             3. Defendants' Motion to Dismiss for Failure to Prosecute(ECF No. 114)is DENIED;
             4. Plaintiffs Motion for an Extension (ECF No. 123) with respect to her response to
                 Defendant's Motion to Dismiss is DENIED AS MOOT.
                                                           1
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